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AKA/RRR: USAO 2021R00335

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
* 2
v. * — CRIMINALNO.QA-CI- DDD |-PWE
*
AKBAR MASOOD, * (Conspiracy to Commit Health Care
MICHELLE O. PEEBLES, * Fraud and Wire Fraud, 18 U.S.C.
HARRIETT JACKSON, = § 1349; Wire Fraud, 18 U.S.C. § 1343;
a/k/a “Harriett Soumah,” * Aggravated Identity Theft, 18 U.S.C.
JUDITH RUSS, # § 1028A; Federal Employee Conflict of
RHONDA PAUL, s Interest, 18 U.S.C. § 208; Aiding and
WESLEY WILLIAMS, * Abetting, 18 U.S.C. § 2; Forfeiture,
BAGNON JAQUES TITI, and * 18 U.S.C. §§ 981(a)(1)(C) and 982(a)(7)
ALFRED ANTONIO DUNCAN, * and (b)(1), 21 U.S.C. § 853(p),
. 28 U.S.C. § 2461(c))
Defendants .
*
RREKKKEK
INDICTMENT
COUNT ONE

(Conspiracy to Commit Health Care Fraud and Wire Fraud)
The Grand Jury for the District of Maryland charges that:
At all times relevant to this Indictment:
Introduction and Background

1. Company A was a company headquartered in the Commonwealth of Virginia and
served as a prime contractor for medical support services to the Walter Reed National Military
Medical Center (““WRNMMC’”) and the Defense Health Agency (“DHA”), which were both
agencies of the United States Government. AKBAR MASOOD (“MASOOD”), a resident of
Great Falls, Virginia, was a part-owner and “Chief Strategy Officer” of Company A.
MICHELLE PEEBLES (“PEEBLES”), a resident of Riverdale, Maryland, was a site manager

at Company A.
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2. Company B was a company headquartered in Tysons, Virginia, and primarily

provided medical billing and coding services on government contracts. HARRIETT

JACKSON, a/k/a “Harriett Soumah,” (“JACKSON”) was President, PEEBLES was Vice-

President, and MASOOD was “Chief Finance and Strategy Officer” of Company B.

3. HMA Solutions was organized on December 30, 2016, as a Delaware Limited
Liability Corporation but headquartered in Riverdale, Maryland. PEEBLES and MASOOD
were members of HMA. JACKSON had no formal role in HMA but shared in the business’
proceeds.

4. JUDITH RUSS (“RUSS”) was an employee of WRNMMC who, among other
duties, was responsible for verifying that contracted medical coding work was performed for
WRNMMC. Beginning no later than January 2017, RUSS was paid regularly by PEEBLES or
Company B and had not disclosed this outside income or employment to officials at WRNMMC.

Ds RHONDA PAUL (“PAUL”) was PEEBLES’ and JACKSON’s friend who
worked primarily as a receptionist at an outpatient medical clinic and also as an Uber and Lyft
driver. PAUL had no experience or credentials as a medical coder.

6. WESLEY WILLIAMS (“WILLIAMS”) was JACKSON’s boyfriend who
worked as a barber. WILLIAMS had no experience or credentials as a medical coder.

a. BAGNON JAQUES TITI (“TITI”’) was PEEBLES’ boyfriend who worked as
a Washington Metro Transit bus driver. TITI had no experience or credentials as a medical
coder.

8. ALFRED ANTONIO DUNCAN (“DUNCAN”) was an associate of PEEBLES
who worked as musician. DUNCAN had no experience or credentials as a medical coder.

9. Victim | was a career medical coder and former colleague of JACKSON who
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was never employed or compensated by HMA.

10. Victims 2 and 3, one of whom was a certified medical coder and the other had
attended medical coding training organized by JACKSON, both had responded to advertised
medical coding job openings, whose applications were available to PEEBLES and MASOOD
but were never hired nor compensated by HMA.

LL Victim 4 was a registered nurse and former intimate relation of JACKSON who
was never employed or compensated by HMA.

12. Victims 5 through 7 were employees of Company A who were not employed nor
compensated by HMA.

The Conspiracy

13. From a time unknown to the Grand Jury, but beginning at least in or about
December 2016, and continuing through at least in or about February 3, 2019, in the District of
Maryland and elsewhere, the defendants,

AKBAR MASOOD,
MICHELLE O. PEEBLES,
HARRIETT JACKSON,
a/k/a “Harriett Soumah,”
JUDITH RUSS,
RHONDA PAUL,

WESLEY WILLIAMS,
BAGNON JAQUES TITI, and
ALFRED ANTONIO DUNCAN,
and others known and unknown to the Grand Jury, conspired and agreed together to commit
offenses under chapter 63 of Title 18, United States Code, to defraud and obtain money and
property from the United States Government, namely:

a. to knowingly and willfully execute and attempt to execute a scheme and

artifice to obtain, by means of false or fraudulent pretenses, representations, or promises (“the
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scheme to defraud”), any of the money or property owned by, or under the custody or control of,
any health care benefit program in connection with the delivery of or payment for health care
benefits, items, or services, in violation of 18 U.S.C. § 1347; and

b. for the purpose of executing and attempting to execute the scheme to
defraud, to cause to be transmitted by means of wire communication, in interstate and foreign
commerce, any writings, signs, signals, pictures, and sounds, in violation of 18 U.S.C. § 1343.

Manner and Means of the Conspiracy and Scheme to Defraud

It was part of the conspiracy and scheme to defraud that:

14. MASOOD, PEEBLES, and JACKSON established HMA to take advantage of
WRNMMC’s increased need for contract medical coders.

15. MASOOD took advantage of decision-making authority within Company A to
use its established medical coding support contract with WRNMMC and DHA to subcontract
work on the contract to HMA.

16. MASOOD, PEEBLES, and JACKSON used the stolen identities of actual
persons to establish personas with which HMA contracts were established with Company A.

17. MASOOD, PEEBLES, and JACKSON obtained the names of actual
credentialed medical coders in order to demonstrate that HMA had the ability to perform medical
coding evaluation, feedback, and training services as a subcontractor to Company A.

18. MASOOD, PEEBLES, and JACKSON would generate false billable hours with
the names of Victims 2, 3, 4, 5, 6, and 7 for which they would charge Company A, which, in
turn, billed those hours to WRNMMC.

19. RUSS, an official with WRNMMC, would then verify the work performed by

non-existent coders.
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20. After WRNMMC continued to experience coding problems and elected to
contract with Company A for in-person coding support from highly skilled coders (“CDI
Specialists”) who would be compensated at far higher rates, MASOOD and PEEBLES also
steered this sub-contract to HMA.

21. MASOOD, PEEBLES, and JACKSON used identities of other actual
credentialed medical coders and another provider, none of whom were affiliated with HMA, to
charge Company A, and therefore WRNMMC, for CDI Specialist hours, none of which were
ever provided.

22. PEEBLES and JACKSON recruited PAUL, WILLIAMS, TITI, and DUNCAN
to pose as medical coders and provide their names and sign consulting agreements with
Company A.

23. After PAUL, WILLIAMS, TITI and DUNCAN submitted false invoices to
Company A, PEEBLES and JACKSON caused Company A to pay PAUL, WILLIAMS, TITI
and DUNCAN for those false invoices.

24. PAUL, WILLIAMS, TITI, and DUNCAN repeatedly submitted completely
falsified medical coding invoices, claiming the processing of thousands of encounters each
month, and causing Company A to bill WRNMMC over $1 million for their false claims alone.

25. PAUL, WILLIAMS, TITI, and DUNCAN received at least $298,851,
$312,781, $245,381, and $295,041, respectively, as net payments in their bank accounts and, to
varying extents, shared these proceeds with JACKSON and PEEBLES.

26. In total, between 2017 and 2019, the defendants obtained nearly $3.3 million from
the scheme to defraud the United States Government.

18 U.S.C. § 1349
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NINE
COUNTS TWO THROUGH 26@#T
(Wire Fraud)
The Grand Jury for the District of Maryland further charges that:

Introduction

1. Paragraphs | through 12 and 14 through 26 of Count One are incorporated here.

The Charge

2. On or about the dates set forth in the table below, in the District of Maryland and

elsewhere, the defendants,

AKBAR MASOOD,
MICHELLE O. PEEBLES,

HARRIETT JACKSON,
a/k/a “Harriett Soumah,”
RHONDA PAUL,
WESLEY WILLIAMS,
BAGNON JAQUES TITI, and
ALFRED ANTONIO DUNCAN,

for the purpose of executing and attempting to execute the scheme and artifice described above,
did cause to be transmitted by means of wire communication in interstate commerce, certain
writings, signs, signals, pictures and sounds, in the form of digital images of previously

deposited checks, described below for each count, each transmission constituting a separate

 

 

count.
Count Date Wire Communication
Email from renee@hmasolutionsllc.com, in Maryland, to an employee
) April 6, | of Company A in Sterling, Virginia, containing a Consulting

2017 Agreement bearing the falsified signature of Victim | and falsely
claiming that Victims 2 and 3 would perform services for HMA.

 

October 4, | Email from accounting@hmasolutionsllc.com, from Riverdale,
3 2017 Maryland, to an employee of Company A and PEEBLES’ Company
A email account, both in Sterling, Virginia, containing a falsified

 

 

 

 

 
 

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invoice from HMA for $88,086.80 for services purportedly performed
by nonexistent employees in September 2017.

 

October 4,
2017

Web-based electronic communication from Company A in Sterling,
Virginia, to Contract Officials at WRNMMC in Bethesda, Maryland,
for invoices in the amounts of $184,914.75 for hourly services
performed in September 2017, which communication included an
attachment itemizing charges for at least six nonexistent medical
coder employees’ (Victims 2 through 7’s) work.

 

5 October
20, 2017

Web-based electronic communication from Company A in Sterling,
Virginia, to Contract Officials at WRNMMC in Bethesda, Maryland,
for invoices in the amount of $315,148.10 for services performed in
September 2017, which communication included an attachment
itemizing charges for PAUL, WILLIAMS, TITI, and DUNCAN’s
nonexistent medical coder employees’ work.

 

October
6 20, 2017

Wire money transfer from Infused Solutions’ BB&T account ending
in 1225, registered in Sterling, Virginia, for $88,086.80 to HMA
Solutions’ TD Bank account ending in 4418, registered in Lanham,
Maryland.

 

7 May 7,
2017

Email from WILLIAMS using the address
tamajaal2016@gmail.com, registered to WILLIAMS in Silver
Spring, Maryland, to an employee of Company A in Sterling,
Virginia, containing a false invoice for $12,045 in services
purportedly performed in April 2017.

 

8 July 3,
2017

Email from DUNCAN, using the address aduncan418@gmail.com,
registered to DUNCAN in White Plains, Maryland, an employee of
Company A in Sterling, Virginia, containing a false invoice for
$10,904 in services purportedly performed in June 2017.

 

9 September
5, 2018

 

 

Email from PEEBLES and TITI, using address
bagnontitii@gmail.com, registered to TITI in Riverdale, Maryland, to
an employee of Company A in Sterling, Virginia containing a false
invoice for $13,822 in services purportedly performed in August
2018.

 

18 U.S.C. § 1343
18 U.S.C. § 2

 
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COUNT TEN
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
Introduction
1. Paragraphs | through 12 and 14 through 26 of Count One are incorporated here.
The Charge
2. On or about April 6, 2017, in the District of Maryland and elsewhere, the
defendants,

AKBAR MASOOD,
MICHELLE O. PEEBLES, and
HARRIETT JACKSON,
a/k/a “Harriett Soumah,”

during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c)—that is, wire
fraud in violation of 18 U.S.C. § 1343, as charged in Count Two of this Indictment—knowingly
transferred, possessed, and used, without lawful authority, a means of identification of another
person, that is, the names and professional certifications of Victims 1, 2, and 3 and the falsified

signature of Victim |.

18 U.S.C. § 1028A
18 U.S.C. § 2
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COUNT ELEVEN
(Aggravated Identity Theft)

The Grand Jury for the District of Maryland further charges that:
Introduction

L. Paragraphs | through 12 and 14 through 26 of Count One are incorporated here.
The Charge

2. On or about October 4, 2017, in the District of Maryland and elsewhere, the

defendants,

AKBAR MASOOD,
MICHELLE O. PEEBLES,
HARRIETT JACKSON,
a/k/a “Harriett Soumah,”

during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c)—that is, wire
fraud in violation of 18 U.S.C. § 1343, as charged in Count Three of this Indictment—knowingly
transferred, possessed, and used, without lawful authority, a means of identification of another

person, that is, the names and professional certifications of Victims 2, 3, 4, 5, 6 and 7.

18 U.S.C. § 1028A
18 U.S.C. §2
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COUNT TWELVE
(Federal Employee Conflict of Interest)

The Grand Jury for the District of Maryland further charges:

1. Paragraphs | through 12 and 14 through 26 of Count One are incorporated here.

2. Beginning in or about January 2017 and continuing through at least in or about
November 2018, in the District of Maryland and elsewhere, the defendant,

JUDITH RUSS,

being a United States Government executive branch officer and employee, did knowingly and
willfully participate personally and substantially through decision, approval, recommendation,
and otherwise, in a determination and contract, in which she had a financial interest, in a
particular matter, specifically, verification of invoices submitted by co-conspirators claiming
work on a government contract that had not been performed while those co-conspirators were

simultaneously providing RUSS with ongoing payments which she had not disclosed.

18 U.S.C. §§ 208 and 216(a)(2)

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FORFEITURE ALLEGATION

 

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§§ 981(a)(1)(C) and 982(a)(1), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the
defendants’ convictions under any of the offenses in Counts One through Eight of this
Indictment.

Health Care Fraud Conspiracy Forfeiture
Zs Upon conviction of the offense charged in Count One, the defendants,

AKBAR MASOOD,
MICHELLE O. PEEBLES,
HARRIET JACKSON,
a/k/a “Harriet Soumah,”
JUDITH RUSS,
RHONDA PAUL,

WESLEY WILLIAMS,
BAGNON JAQUES TITI, and
ALFRED ANTONIO DUNCAN II,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), any property, real or

personal, that constitutes or is derived, directly or indirectly, from gross proceeds traceable to the

commission of such offense.
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3.

defendants,

Wire Fraud Forfeiture

Upon conviction of any of the offenses charged in Counts One through Eight, the

AKBAR MASOOD,
MICHELLE O. PEEBLES,

HARRIETT JACKSON,
a/k/a “Harriett Soumah,”
JUDITH RUSS,
RHONDA PAUL,
WESLEY WILLIAMS,
BAGNON JAQUES TITI, and
ALFRED ANTONIO DUNCAN,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, which constitutes or is derived from proceeds traceable to such

offenses.

4,

to forfeiture:

Substitute Assets

If, as a result of any act or omission of the defendants, any such property subject

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e, has been commingled with other property which cannot be subdivided
without difficulty,

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the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by 18 U.S.C. § 982(b)(1) and

28 U.S.C. § 2461(c), shall be entitled to forfeiture of substitute property up to the value of the

forfeitable property described above.

18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(7) and (b)(1)
21 U.S.C. § 853(p)

28 U.S.C. § 2461(c)

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Btek L. Barron
United States Attorney

A TRUE BILL:

SIGNATURE REDACTED

Foreperson

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